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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


United States of America,                                 Case No. 21-cr-0173 (WMW/DTS)

                            Plaintiff,
                                                                 ORDER
       v.

Anton Joseph Lazzaro (1),

                            Defendant.


       Defendant Anton Joseph Lazzaro appeals United States Magistrate Judge Hildy

Bowbeer’s order of detention pursuant to 18 U.S.C. § 3145(b). (Dkt. 44.) Plaintiff

United States of America did not respond to Lazzaro’s appeal in the time permitted. See

LR 72.2(a)(2) (providing that a party may respond within 14 days after another party

objects to a magistrate judge’s nondispositive ruling).

       “If a person is ordered detained by a magistrate judge . . . the person may file, with

[the district court], a motion for revocation or amendment of the order.” 18 U.S.C.

§ 3145(b). A district court reviews a detention order de novo. United States v. Maull,

773 F.2d 1479, 1481 (8th Cir. 1985). A district court has discretion to either hold an

evidentiary hearing or rely on the evidence presented to the magistrate judge. See, e.g.,

United States v. Smith, No. 4:13-cr-00179-SWW-008, 2014 WL 259111, at *2 (E.D. Ark.

Jan. 23, 2014) (collecting cases).

       Here, Lazzaro contends that the magistrate judge’s order of detention “was based

on clearly erroneous findings of fact” and “an incorrect application of the facts to the
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applicable legal standard.”    But Lazzaro does not present any specific argument in

support of these contentions. Instead, he requests a supplemental evidentiary hearing and

oral argument. A supplemental evidentiary hearing is unnecessary in this case in light of

the robust evidentiary record developed by the magistrate judge. However, because

Lazzaro has not specifically identified the errors of fact and law that he attributes to the

magistrate judge’s order of detention, the Court will permit supplemental briefing that is

narrowly limited to addressing that issue.

                                         ORDER

       Based on the foregoing analysis and all the files, records and proceedings herein,

IT IS HEREBY ORDERED:

       1.     Defendant Anton Joseph Lazzaro’s request for an evidentiary hearing is

DENIED.

       2.     Lazzaro shall file a supplement brief in support of his appeal of the

magistrate judge’s order of detention no later than October 6, 2021.

       3.     Plaintiff United States of America shall respond to Lazzaro’s supplemental

brief no later than October 13, 2021.

       4.     Lazzaro’s appeal of the magistrate judge’s order of detention, (Dkt. 44),

will be decided on the written submissions after all supplemental briefs are filed.




Dated: September 29, 2021                               s/Wilhelmina M. Wright
                                                        Wilhelmina M. Wright
                                                        United States District Judge


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